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18
                                     UNITED STATES DISTRICT COURT
19                                 NORTHERN DISTRICT OF CALIFORNIA
20
       ANIBAL RODRIGUEZ, SAL CATALDO,                            Case No.: 3:20-cv-04688-RS
21     JULIAN SANTIAGO, and SUSAN LYNN
       HARVEY individually and on behalf of all                  DECLARATION OF JULIAN
22     other similarly situated,                                 SANTIAGO SUPPORT OF PLAINTIFFS’
                                                                 MOTION FOR CLASS CERTIFICATION
23                       Plaintiffs,
        v.                                                       Judge: Hon. Richard Seeborg
24
                                                                 Courtroom 3 – 17th Floor
25     GOOGLE LLC,                                               Date: October 5, 2023
                                                                 Time: 1:30 p.m.
26                       Defendant.
27

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                SANTIAGO DECLARATION ISO PLAINTIFFS’ MOTION FOR CLASS CERTIFICATION
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1                                   DECLARATION OF JULIAN SANTIAGO

2              I, Julian Santiago, declare as follows.

3              1.       My name is Julian Santiago. I am over eighteen years of age and am competent to

4     testify to and have personal knowledge of the facts set forth herein.

5              2.       I am a plaintiff in this lawsuit against Google, LLC (“Google”). Because I should

6     be in control of what is or is not collected, I use Google’s Web & App Activity (“WAA”) and

7     Supplemental Web & App Activity (“sWAA”) privacy controls to block Google from tracking me.

8     Because Google is a large company that collects massive amounts of data, I turned WAA and

9     sWAA off so that it could not collect, save, or use any of my data.

10             3.       I opened my personal Google account around 2016 and my work Google account

11    around 2020, and in the years before this lawsuit was filed, I recall reading Google’s Terms of

12    Service, Privacy Policy, and other Google disclosures so that I could understand what data Google

13    did and did not collect when WAA and sWAA were turned off. I agreed to those terms. This

14    included the Activity Controls page, which did not include Google as someone who would still

15    have access to my Web & App Activity and supplemental Web & App Activity when WAA and

16    sWAA were turned off. All of these documents and disclosures from Google gave me the option

17    to control what information would be shared with Google and when, and I expected that Google

18    would not collect, save, or use my Web & App Activity and supplemental Web & App Activity

19    when I had turned off WAA and sWAA.

20             4.       Although I had turned off WAA and sWAA and thought Google was not collecting,

21    storing, or using my Web & App Activity and supplemental Web & App Activity, when I read

22    about this lawsuit, it led me to question whether that was true, so I contacted my current counsel

23    to learn more about what was going on and to join the case.

24             5.       I joined this lawsuit with the understanding that the case has been brought as a class

25    action on behalf of two nationwide classes of individuals. The first nationwide class is:

26             Class 1: All individuals who, during the period beginning July 1, 2016 and continuing
               through the present (the “Class Period”), (a) had their “Web & App Activity” and/or
27             “supplemental Web & App Activity” setting turned off and (b) whose activity on a non-
28     ___________________________________________________________________________________________________________________
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               Google-branded mobile app was still transmitted to Google, from (c) a mobile device
1              running the Android operating system, because of the Firebase Software Development Kit
2              (“SDK”) and/or Google Mobile Ads (“GMA”) SDK.
               6.       The second nationwide class is:
3
               Class 2: All individuals who, during the period beginning July 1, 2016 and continuing
4              through the present (the “Class Period”), (a) had their “Web & App Activity” and/or
5              “supplemental Web & App Activity” setting turned off and (b) whose activity on a non-
               Google-branded mobile app was still transmitted to Google, from (c) a mobile device
6              running a non-Android operating system, because of the Firebase Software Development
               Kit (“SDK”) and/or Google Mobile Ads (“GMA”) SDK.
7
               7.       As a class representative, I understand that I have a duty to protect the interests of
8
      the classes. I will protect the best interests of the members of the classes and will work with my
9
      attorneys to obtain success on behalf of those classes.
10
               8.       I am not aware of any facts that would limit my ability to adequately represent the
11
      interests of other members of the classes, or that my interests conflict in any way with the interests
12
      of the classes. I have not been promised any compensation for bringing this case and serving as a
13
      class representative.
14
               9.       I understand that I am a member of Class 2 because I turned WAA and sWAA off
15
      but Google still collected my Web & App Activity and supplemental Web & App Activity on non-
16
      Google-branded mobile apps from my non-Android mobile devices. Although I thought that
17
      Google would not collect, save, or use any Web & App Activity and supplemental Web & App
18
      Activity when I had turned off WAA and sWAA, I now know that Google still collects, saves, and
19
      uses my Web & App Activity and supplemental Web & App Activity without my consent.
20
               10.      I have been and continue to be willing to do what is necessary to protect the interests
21
      of the members of the classes. I have retained lawyers who have extensive experience in class
22
      action litigation. I have discussed this case with my lawyers on numerous occasions, and reviewed
23
      pleadings before they were filed. I provided deposition testimony for this case on March 7, 2022,
24
      and have responded to numerous written discovery requests from Google. I also allowed Google
25
      to pull information from my account that is sensitive and confidential to me, like my Google
26

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1     subscriber information. I also helped gather information from my device (with the help of my

2     lawyers and experts) to submit to Google to help understand how Google’s tracking works.

3              11.      I am familiar with the claims that have been asserted in the case and have remained

4     apprised of the Court’s orders and the strategy employed in this litigation. I am committed to

5     staying up to date on any additional developments in this case by continuing to confer with my

6     attorneys on a regular basis.

7              12.      I am aware that there are expenses involved in representing classes, and have

8     arranged with my attorneys that the expenses will be paid by my attorneys and that they will seek

9     reimbursement of these expenses if a recovery is obtained.

10             13.      I will appear at trial for this case.

11    I declare under penalty of perjury under the laws of the United States of America that the foregoing is

12    true and correct. Executed this 20th day of July 2023, at Miami, Florida.

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                SANTIAGO DECLARATION ISO PLAINTIFFS’ MOTION FOR CLASS CERTIFICATION
